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  8                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
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 10   ENRIQUE MENDOZA,                         )   Case No.: 5:19-cv-02117-RAO
                                               )
 11                Plaintiff,                  )   {PROPOSED} ORDER AWARDING
                                               )   EQUAL ACCESS TO JUSTICE ACT
 12         vs.                                )   ATTORNEY FEES AND EXPENSES
                                               )   PURSUANT TO 28 U.S.C. § 2412(d)
 13   ANDREW SAUL,                             )   AND COSTS PURSUANT TO 28
      Commissioner of Social Security,         )   U.S.C. § 1920
 14                                            )
                   Defendant                   )
 15                                            )
                                               )
 16
 17         Based upon the parties’ Stipulation for the Award and Payment of Equal
 18   Access to Justice Act Fees, Costs, and Expenses:
 19         IT IS ORDERED that fees and expenses in the amount of $3,616.50 as
 20   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
 21   awarded subject to the terms of the Stipulation.
 22   DATE: September 18, 2020
 23                             _______________/S/
      __________________
 24                             THE HONORABLE ROZELLA A. OLIVER
                                UNITED STATES MAGISTRATE JUDGE
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